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                                       1    ERIC ZIMBELMAN, ESQ.
                                            Nevada Bar No. 9407
                                       2    PEEL BRIMLEY LLP
                                            3333 E. Serene Avenue, Suite 200
                                       3    Henderson, Nevada 89074-6571
                                            Telephone: (702) 990-7272
                                       4    Facsimile: (702) 990-7273
                                            ezimbelman@peelbrimley.com
                                       5    Attorneys for Defendant
                                            Mollerup Glass Company
                                       6

                                       7                              UNITED STATES DISTRICT COURT
                                       8                                       DISTRICT OF NEVADA
                                       9    THE WHITING-TURNER CONTRACTING                   Case No.
                                            COMPANY, a Maryland corporation,
                                      10                                                     DEFENDANTS MOLLERUP GLASS
                                                                  Plaintiff,                 COMPANY’S AND EMPLOYERS
                                      11    vs.                                              MUTUAL CASUALTY COMPANY’S
(702) 990-7272 ♦ FAX (702) 990-7273




                                                                                             NOTICE OF REMOVAL
 3333 E. SERENE AVENUE, STE. 200




                                      12    MOLLERUP GLASS COMPANY, a Utah
    HENDERSON, NEVADA 89074




                                            corporation; EMPLOYERS MUTUAL
        PEEL BRIMLEY LLP




                                      13    CASUALTY COMPANY, an Iowa
                                            corporation; and DOES 1-25, inclusive,
                                      14
                                                                  Defendants.
                                      15

                                      16           PLEASE TAKE NOTICE THAT Defendants Mollerup Glass Company (“Mollerup”) by

                                      17   and through its counsel, Eric Zimbelman and the law firm of PEEL BRIMLEY LLP, and Employers

                                      18   Mutual Casualty Company (“EMCC”), by and through its counsel, Kurt C. Faux and Faux Law

                                      19   Group, hereby remove this action from the Eighth Judicial District Court for Clark County, Nevada,

                                      20   Case No. A-24-907508-C to the United States District Court for the District of Nevada. Federal

                                      21   jurisdiction exists over these proceedings pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 because

                                      22   there is complete diversity between the parties and because the amount in controversy exceeds

                                      23   $75,000.00. In support of removal, Mollerup states:

                                      24      I.      INTRODUCTION AND BACKGROUND

                                      25           This action arises from a dispute between Plaintiff THE WHITING-TURNER

                                      26   CONTRACTING COMPANY. (“WTC” or “Plaintiff”) and Defendants Mollerup and EMCC,

                                      27   which issued a performance bond surety on behalf of Mollerup. WTC’s filed its Complaint in the

                                      28
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                                       1   Eighth Judicial District Court of Nevada on December 6, 20241 and served the same by way of
                                       2   Acceptances of Service dated December 19, 2024 (EMCC) and December 20, 2024 (Mollerup)
                                       3   respectively. Accordingly, and pursuant to 28 U.S.C. § 1446, this Notice of Removal is timely
                                       4   filed.
                                       5             Plaintiff’s Complaint alleges (1) Breach of Contract, (2) Breach of Implied Covenant of
                                       6   Good Faith and Fair Dealing, (3) Breach of Warranty, (4) Express Indemnity, (5) Equitable
                                       7   Indemnity, (6) Implied Indemnity, (7) Unjust Enrichment, (8) Negligence, (9) Claim Against
                                       8   Performance Bond, and (10) Declaratory Relief.2 Plaintiff’s Complaint alleges that it has been
                                       9   damaged in an amount exceeding $6,000,000.00.3
                                      10             As more fully set forth below, this case is properly removed to this Court pursuant to 28
                                      11   U.S.C. § 1441 because Defendants Mollerup and EMCC have satisfied the procedural requirements
(702) 990-7272 ♦ FAX (702) 990-7273
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                                      12   for removal and this Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
    HENDERSON, NEVADA 89074
        PEEL BRIMLEY LLP




                                      13   1332(a). Mollerup and EMCC filed this Notice of Removal jointly and mutually consent to the
                                      14   removal.
                                      15       II.      REMOVAL IS PROPER IN THIS CASE
                                      16                A. Complete Diversity Exists Between Plaintiff and Defendant.
                                      17             Plaintiff is a Maryland corporation with its principal place of business in Maryland, and for
                                      18   jurisdictional purposes, is a citizen of Maryland. See U.S.C. § 1332(c)(1) (“a corporation shall be
                                      19   deemed to be a citizen of any State by which it has been incorporated and of the State where it has
                                      20   its principal place of business”). Defendant Mollerup is a Utah corporation with its principal place
                                      21   of business in Utah. Defendant EMCC is an Iowa insurance company with its principal place of
                                      22   business in Iowa. There are no other parties in this action at this time and Defendants understand
                                      23   that additional parties that may be subsequently joined will not destroy diversity. Accordingly,
                                      24   complete diversity exists and is expected to continue to exist even with anticipated joinder of
                                      25   additional parties.
                                      26

                                      27
                                           1
                                             A true and correct copy of the Complaint is submitted herewith as Exhibit 1.
                                           2
                                      28     See Complaint (Exhibit 1) at ¶¶ 31-126.
                                           3
                                             See Complaint ¶¶ 36, 72, 81, 109, 117, 126.


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                                       1                 B. The Amount in Controversy Exceeds $75,000.00.
                                       2              A preponderance of evidence supports the amount in controversy exceeds $75,000. See
                                       3   Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 403-404 (9th Cir. 1996); Guglielmino v. McKee
                                       4   Foods Corp., 2007 WL 2916193 (9th Cir. Oct. 9, 2007). Here, Plaintiff’s Complaint expressly
                                       5   alleges damages in excess of $6,000,000.00.4 Additionally, Plaintiff seeks recovery “for the
                                       6   amount of the Performance Bond” issued by EMCC,5 which bond Plaintiff expressly alleges to be
                                       7   in the penal sum of $5,831,700.00.6 Based on these allegations, it is clear Plaintiff’s claimed
                                       8   damages are in excess of $75,000. See Guglielmino, 2007 WL 2916193, slip op. at n.5.
                                       9   Accordingly, the jurisdictional amount is satisfied in this case.
                                      10       III.      MOLLERUP AND EMCC HAVE SATISFIED THE PROPER PROCEDURAL
                                      11                 REQIREMENT FOR REMOVAL
(702) 990-7272 ♦ FAX (702) 990-7273
 3333 E. SERENE AVENUE, STE. 200




                                      12              This notice is timely filed within 30 days of service of the Complaint and summons. 28
    HENDERSON, NEVADA 89074




                                           U.S.C. § 1446(b). Specifically, the Complaint was filed on December 6, 2024 and was served by
        PEEL BRIMLEY LLP




                                      13

                                      14   way of Acceptances of Service dated December 19, 2024 (EMCC) and December 20, 2024

                                      15   (Mollerup) respectively. Accordingly, and pursuant to 28 U.S.C. § 1446, this Notice of Removal

                                      16   is timely filed.

                                      17              Venue, for removal purposes, properly lies in the United States District Court for the District

                                      18   of Nevada pursuant to 28 U.S.C. § 1446(a) because it encompasses the Eighth Judicial District

                                      19   Court, where this action was originally brought.

                                      20              Defendants will file a copy of this Notice of Removal with the Clerk of the Eighth Judicial

                                      21   District Court and will serve a copy on Plaintiff’s counsel as required by 28 U.S.C. § 1446(d).

                                      22   Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings and orders that were filed in the

                                      23   state court action are attached hereto as Exhibit 1.

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                                           4
                                             See Complaint ¶¶ 36, 72, 81, 109, 117, 126.
                                           5
                                      28     See Complaint, Prayer for Relief.
                                           6
                                             See Complaint ¶ 114.


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                                       1      IV.       CONCULSION
                                       2            For all the above reasons, it is proper for Defendants to remove this action from the Eighth
                                       3   Judicial District Court for Clark County, Nevada to the United States District Court for the District
                                       4   of Nevada.
                                       5      Dated this 17th day of January, 2025.
                                       6                                                  PEEL BRIMLEY LLP
                                       7
                                                                                          /s/ Eric Zimbelman
                                       8                                                  ________________________________________
                                                                                          ERIC ZIMBELMAN, ESQ.
                                       9                                                  Nevada Bar No. 9407
                                                                                          3333 E. Serene Avenue, Suite 200
                                      10                                                  Henderson, Nevada 89074-6571
                                                                                          Telephone: (702) 990-7272
                                      11                                                  ezimbelman@peelbrimley.com
(702) 990-7272 ♦ FAX (702) 990-7273




                                                                                          Attorneys for Defendant
 3333 E. SERENE AVENUE, STE. 200




                                      12                                                   Mollerup Glass Company
    HENDERSON, NEVADA 89074
        PEEL BRIMLEY LLP




                                      13                                                  FAUX LAW GROUP
                                      14                                                  /s/ Kurt Faux
                                                                                          ________________________________________
                                      15                                                  KURT C. FAUX, ESQ.
                                      16                                                  Nevada Bar No. 003407
                                                                                          2625 n. Green Valley Parkway, Suite 100
                                      17                                                  Henderson, Nevada 89014
                                                                                          Telephone: (702) 458-5790
                                      18                                                  kfaux@fauxlaw.com
                                                                                          Attorneys for Defendant Employers Mutual
                                      19                                                   Casualty Company

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                                       1                                   CERTIFICATE OF SERVICE
                                       2          Pursuant to Nev. R. Civ. P. 5(b), I certify that I am an employee of PEEL

                                       3   BRIMLEY, LLP, and that on this 17th day of January, 2025, I caused the above and
                                       4   foregoing document, NOTICE OF REMOVAL TO FEDERAL COURT, to be served as
                                       5   follows:
                                       6                  by placing same to be deposited for mailing in the United States Mail, in a sealed
                                                          envelope upon which first class postage was prepaid in Las Vegas, Nevada; and/or
                                       7
                                                          pursuant to NEFCR 9, upon all registered parties via the Court’s electronic filing
                                       8                  system;
                                       9
                                                          pursuant to EDCR 7.26, to be sent via facsimile;
                                      10
                                                          to be hand-delivered; and/or
                                      11
(702) 990-7272 ♦ FAX (702) 990-7273
 3333 E. SERENE AVENUE, STE. 200




                                                          other _________________
                                      12
    HENDERSON, NEVADA 89074




                                           to the attorney(s) and/or party(ies) listed below:
        PEEL BRIMLEY LLP




                                      13

                                      14

                                      15

                                      16

                                      17                                                  /s/ Christopher Tertipes
                                                                                          ________________________________________
                                      18                                                  An employee of PEEL BRIMLEY, LLP

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